                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION




 RHONDA BURNETT, JEROD BREIT,
 JEREMY KEEL, HOLLEE ELLIS, and
 FRANCES HARVEY, on behalf of themselves                Case No. 4:19-cv-00332-SRB
 and all others similarly situated,
                                                        CLASS ACTION
                           Plaintiffs,

                  v.

 THE NATIONAL ASSOCIATION OF
 REALTORS, REALOGY HOLDINGS CORP.,
 HOMESERVICES OF AMERICA, INC., BHH
 AFFILIATES, LLC, RE/MAX LLC, and
 KELLER WILLIAMS REALTY, INC.,

                           Defendants.



    JOINT MOTION FOR VACATUR OF CLERK’S JUDGMENT AND ENTRY OF
             BRIEFING SCHEDULE FOR POST-TRIAL MOTIONS

       Plaintiffs Rhonda Burnett, Jerod Breit, Jeremy Keel, Hollee Ellis, and Frances Harvey

(Plaintiffs), and Defendants The National Association of Realtors, HomeServices of America, Inc.,

BHH Affiliates, LLC, HSF Affiliates, LLC, and Keller Williams Realty, Inc. (Defendants) jointly

move the Court:

       (1)    To vacate the “Clerk’s Judgment” (ECF No. 1296) to allow Plaintiffs to seek entry

              of judgment and to allow Defendants to object and comment on Plaintiffs’ proposed

              form of judgment using the procedures set forth in Local Rule 58.2 and Federal

              Rule of Civil Procedure 58;




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        (2)    To enter a briefing schedule for all post-trial motions, with any motions to be filed

               by Defendants on January 8, 2024; any oppositions to Defendants’ motions due on

               February 26, 2024; and any replies to Plaintiffs’ oppositions due on March 18,

               2024;

        (3)    To stay execution of any judgment until 30 days after resolution of all post-trial

               motions; and

        (4)    To order that vacatur of Docket Entry No. 1296 does not preclude post-judgment

               interest from beginning to accrue on November 1, 2023, with the Parties reserving

               all rights and arguments as to the date on which prejudgment interest begins to run.

        The Parties have agreed that Docket Entry No. 1296 should be vacated. Doing so will

eliminate any uncertainty regarding the deadlines for post-trial motions and appeals.

        The Parties have also agreed that, following submission of this joint motion, Plaintiffs will

move for entry of judgment under Federal Rule of Civil Procedure 58 and using the process

described in Local Rule 58.2, after which the Court can resolve any remaining differences between

the Parties.

        The Parties have further agreed to a briefing schedule that will afford the Parties and the

Court adequate time to address the complex issues in this case based on the voluminous trial

record. The Parties’ agreement to stay execution of any judgment until 30 days after resolution of

all post-trial motions also eliminates any confusion and provides additional time for the Parties to

discuss the terms of a possible supersedeas bond.

        As part of this agreement, Defendants have agreed that they will not argue that vacatur of

Docket Entry No. 1296 is a reason for precluding post-judgment interest from beginning to accrue

on November 1, 2023. Defendants reserve their rights to argue that post-judgment interest should



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not accrue from that date for any other reason. Defendants also reserve their rights to seek a further

stay of execution of the Court’s judgment.

       For these reasons, the Parties request that this Motion be granted and the Court vacate

Docket Entry No. 1296, enter the proposed briefing schedule for post-trial motions, and stay

execution of any judgment until 30 days after resolution of all post-trial motions.

Dated: November 14, 2023

                                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on November 14, 2023, an electronic copy of the

foregoing was filed with the Clerk of the Court by using the CM/ECF system and service upon all

counsel of record will be accomplished by the CM/ECF system.

                                                          /s/ Robert D. MacGill




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